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Via ECF
Hon. Lewis J. Liman                                  June 2, 2025
United States District Court
Southern District of New York
500 Pearl Street, Room 1620
New York, NY 10007

Re:    Lively v. Wayfarer Studios LLC et al., No. 1:24-cv-10049-LJL;
       rel. Wayfarer Studios LLC et al. v. Lively et al., No. 1:25-cv-00449-LJL

Dear Judge Liman:

On behalf of Wayfarer Studios LLC, Justin Baldoni, Jamey Heath, Steve Sarowitz, It Ends With
Us Movie LLC, Melissa Nathan, The Agency Group PR LLC, and Jennifer Abel (collectively, the
“Wayfarer Parties”), we write pursuant to Rule 4.b of Attachment A to Your Honor’s Individual
Rules to respectfully request that the Court preliminarily seal Exhibits A and B to the Wayfarer
Parties’ Motion to Compel, filed contemporaneously herewith. Exhibits A and B are Blake
Lively’s responses and objections (and her amended version thereof) to the Wayfarer Parties’
Second Set of Requests for Production, which Ms. Lively designated as confidential. In accordance
with Rule 4.b of Attachment A, the Wayfarer Parties respectfully request that the Court not rule
on this letter-motion to seal for one week, so that the parties can meet and confer, and Ms. Lively
may file a motion for continued sealing if she so chooses.

                                      Respectfully submitted,

                                      /s/ Kevin Fritz
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cc: all counsel of record (via ECF)
